
690 S.E.2d 698 (2010)
HOUSECALLS HOME HEALTH CARE, INC., Housecalls Healthcare Group, Inc., and Terry Ward, Individually
v.
STATE of North Carolina, DEPARTMENT OF HEALTH AND HUMAN SERVICES, and Dempsey Benton, Individually and as Secretary.
No. 463P09.
Supreme Court of North Carolina.
January 28, 2010.
Thomas B. Kobrin, for all plaintiffs.
Richard Votta, Assistant Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 682 S.E.2d 741.

AMENDED ORDER
Upon consideration of the conditional petition filed on the 23rd of November 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 28th of January 2010."
